Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 1 of 19 PageID #:18




                               Exhibit 1
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 2 of 19 PageID #:19
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 3 of 19 PageID #:20
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 4 of 19 PageID #:21
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 5 of 19 PageID #:22
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 6 of 19 PageID #:23
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 7 of 19 PageID #:24
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 8 of 19 PageID #:25
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 9 of 19 PageID #:26
Case: 1:24-cv-01380 Document #: 1-1 Filed: 02/19/24 Page 10 of 19 PageID #:27
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